                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                    Case No. 17-CR-124
               v.

 MARCUS HUTCHINS,

                 Defendant.
________________________________________________________________________

         DEFENDANT’S MOTION TO SUPPRESS STATEMENTS
          (WITH REQUEST FOR AN EVIDENTIARY HEARING)
________________________________________________________________________

      Defendant Marcus Hutchins asks this Court to suppress his post-arrest

statements, along with any evidence the government may have obtained as a

result of them. In conducting the custodial interrogation, the government

coerced Mr. Hutchins, who was sleep-deprived and intoxicated, to talk.

Moreover, because Mr. Hutchins is a citizen of the United Kingdom, where a

defendant’s post-arrest rights are very different than in the United States, he did

not sufficiently understand any warnings he may have been given or rights being

waived. Overall, the government’s post-arrest interview violated Mr. Hutchins’

rights.

      Mr. Hutchins also seeks an evidentiary hearing and an opportunity to

submit briefing following the development of facts at that hearing. The parties


          Case 2:17-cr-00124-JPS Filed 03/30/18 Page 1 of 11 Document 55
corresponded and spoke in the lead up to this motion in compliance with

Criminal Local Rule 12(b). The government indicated that it intends to oppose

the request for an evidentiary hearing, although it may change its mind upon

review of this motion.

      The Court has tentatively scheduled an evidentiary hearing for April 18,

2018 at 1:30 p.m. The defense believes a half-day evidentiary hearing, at most, is

needed, so the entire hearing should be able to proceed as scheduled.

                                  BACKGROUND

      The following is a brief rundown of the facts and circumstances of Mr.

Hutchins post-arrest interview. As the Court will see, there are a number of

reasons an evidentiary hearing is merited. The existing record is materially

incomplete in ways compromising this Court’s ability to evaluate the

voluntariness of any waiver by Mr. Hutchins of his Miranda rights, as well as the

voluntariness of his post-arrest statements. See United States v. LeShore, 543 F.3d

935, 941 (7th Cir. 2008) (citing Baskin v. Clark, 956 F.2d 142, 145 (7th Cir. 1992) for

the proposition that “[a] valid waiver is necessary but not sufficient for a

voluntary statement” because “a statement may still be found involuntary under

the totality of the circumstances even though the [Miranda] waiver was valid.”).

      On August 2, 2017, federal agents executed a warrant for Mr. Hutchins’

arrest by taking him into custody at the airport in Las Vegas. See United States v.


                                           2
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 2 of 11 Document 55
Yusuff, 96 F.3d 982, 987 (7th Cir. 1996) (a suspect is “in custody” for purposes of

Miranda when his movement is restrained to a degree comparable to formal

arrest). Mr. Hutchins was arrested based on the pending six-count indictment

alleging a variety of computer-related crimes dating from approximately July

2014 to July 2015. At the time of his arrest, Mr. Hutchins, a citizen of the United

Kingdom, resided with his family in England, and he worked remotely for a Los

Angeles-based computer security company.

      When Mr. Hutchins was arrested, he was sitting in an airline lounge

awaiting a flight home to the United Kingdom. He had been in Las Vegas for

over a week in conjunction with DEF CON, an industry conference.

      The agents did not find Mr. Hutchins at the airport by accident. The FBI

had conducted surveillance of him while he was in Las Vegas, and was aware of

his travel plans. The FBI monitored Mr. Hutchins the morning of his arrest,

starting at 6:44 a.m., according to an FBI physical surveillance log. The FBI’s log

noted Mr. Hutchins’ arrival at the airport (12:18 p.m.), time at the ticket counter

(12:34 p.m.), approach to the TSA check point (12:39 p.m.), clearance through

security (12:41 p.m.), entry to the lounge (12:49 p.m.), and presence in the airline

lounge (12:56 p.m.). There, agents took him into custody (1:17 p.m.).




                                          3
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 3 of 11 Document 55
      An email sent between FBI agents and discussing what was happening

during this time period stated:

             Subject is at airport and thru security. After talking with cbp
             they usually do arrests upon boarding and have a very
             discrete rout to take him to a secure location. Very quiet and
             out of the public eye. So that is the plan currently. One
             contingency if he starts drinking we will pull him out of the
             terminal.

As Mr. Hutchins sat in the airport lounge, he was not drinking, but he was

exhausted from partying all week and staying up the night before until the wee

hours. He had also used drugs.

      According to an FBI memorandum, before “initiating a post arrest

interview,” an agent asked Mr. Hutchins if he had been drinking that day, and

he responded that he had not. That memorandum, written over four months

after the arrest, then states that the agent asked Mr. Hutchins “if has [sic] in a

good state of mind to speak to the FBI Hutchins agreed.” Mr. Hutchins did not

understand it to be an inquiry as to whether he had used drugs or was

exhausted.

       An FBI memorandum states that an agent called the British consulate at

1:26 p.m. to notify them of Mr. Hutchins’ arrest. Thus, the FBI was fully aware

that Mr. Hutchins was a citizen of another country (and one with a very different

set of rights relating to post-arrest interviews).



                                           4
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 4 of 11 Document 55
      Two agents interviewed Mr. Hutchins after his arrest. Here is a summary

of what is presently known about that interrogation:

      • An FBI memorandum written five days after the interrogation
        generically states: “After being advised of the identity of the
        interviewing Agents, the nature of the interview and being
        advised of his rights, HUTCHINS provided the following
        information . . .” The memorandum does note the time that
        advisement was purportedly given. At the end, it notes that Mr.
        Hutchins provided consent to search his two phones, two
        laptops, and a thumb drive in his backpack, although it does not
        note when that allegedly happened during the course of the
        interview.

      • An FBI Advice of Rights form sets forth Miranda warnings and
        reflects Mr. Hutchins’ signature. It is dated August 2, 2017, but
        the time it was completed includes two crossed out times, 11:08
        a.m. and 2:08 p.m., and one uncrossed out time, 1:18 p.m. (which
        is one minute after the FBI log reflects Mr. Hutchins’ arrest, as
        noted above).

      • A lengthy portion of Mr. Hutchins’ post-arrest statement was
        audio recorded by the FBI. Importantly, however, the agents did
        not record the part of the interview in which they purportedly
        advised of him of his Miranda rights, answered any questions he
        might have had, and had him sign a Miranda waiver form. The
        audio recording commences with a conversation-in-progress
        with an FBI agent asking to look at Mr. Hutchins’ phones and
        any laptops in his bags. Mr. Hutchins discussed his partying
        while in Las Vegas, as well as his lack of sleep, during the
        interrogation.

                                 DISCUSSION

      Based on what is currently known, there can be no doubt that the FBI

agents subjected Mr. Hutchins to a custodial interrogation. And there seems to

be little doubt that the agents—in some unspecified fashion, at an uncertain

                                        5
       Case 2:17-cr-00124-JPS Filed 03/30/18 Page 5 of 11 Document 55
time—advised Mr. Hutchins of his rights under Miranda, and that he signed a

form intended to memorialize his waiver of those rights.

      But the advisement of warnings and the signature on a waiver form begin,

rather than end, the constitutional inquiry. See Berghuis v. Thompkins, 560 U.S.

370, 382 (2010) (“the accused’s statement during a custodial interrogation is

inadmissible at trial unless the prosecution can establish that the accused . . .

knowingly and voluntarily waived [Miranda] rights when making the

statement”). And a waiver inquiry “has two distinct dimensions.” Id. First, the

“waiver must be ‘voluntary’ in the sense that it was the product of a free and

deliberate choice rather than intimidation, coercion, or deception.” Id. (quoting

Moran v. Burbine, 475 U.S. 412, 421 (1986)). Second, there has to have been “full

awareness” on the defendant’s part “of both the nature of the right being

abandoned and the consequences of the decision to abandon it.” Id. The

relevant inquiry demands consideration of the totality of the circumstances

surrounding the advisement, the waiver, and the statement. Fare v. Michael C.,

442 U.S. 707, 725 (1979) (the “totality of the circumstances surrounding the

interrogation” must “reveal both an uncoerced choice and the requisite level of

comprehension”).

      Here, the reason why an evidentiary hearing is necessary is that the

totality of circumstances surrounding the FBI’s claim that Miranda warnings


                                          6
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 6 of 11 Document 55
were given and a waiver form bearing Mr. Hutchins’ signature is shrouded in

ambiguity and missing key information:

      • The audio recording of Mr. Hutchins post-arrest interview does
        not reflect the giving of Miranda warnings or any waiver of those
        rights (including whether the agents knew he was sleep-deprived
        and intoxicated, or took into account his United Kingdom
        citizenship), and it reflects a joined-in-progress interview of Mr.
        Hutchins.

      • No report depicting the advisement of rights and waiver of them
        sheds any meaningful light on the relevant conversation
        surrounding that transaction. The FBI memorandum only
        includes generic “we-advised-and-he-waived” language.

      • The Advice of Rights form, itself, includes crossed off times that
        call into question when any advisement and waiver occurred.
        Also the non-crossed out time is one minute after Mr. Hutchins
        was arrested, suggestive of a cursory advisement, at best.

      The concerns these issues raise are not idle or speculative, for at least two

reasons.

      First, the Seventh Circuit recognizes that intoxication is relevant to the

voluntariness—legally, in terms of a statement’s admissibility, and factually, in

terms of the weight to be given to an admissible statement—of post-arrest

statements. See, e.g., United States v. Carson, 582 F.3d 827, 833 (7th Cir. 2009). And

here, an FBI e-mail from the day of Mr. Hutchins’ arrest reveals the agents’

concern that Mr. Hutchins—a young man wrapping up a solid week of the Las

Vegas experience—might start drinking at the airport (the plan: “pull him out of

terminal”). This shows the agents’ contemporaneous awareness of, and concern

                                          7
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 7 of 11 Document 55
about, the possibility of Mr. Hutchins being impaired. And while an FBI

memorandum—one written more than four months afterward—claims Mr.

Hutchins was asked about drinking, it does not mention exhaustion or other

possible forms of intoxication (e.g., drugs).

       Second, the agents knew they were dealing with a citizen of the United

Kingdom, a place where a defendant’s post-arrest rights are very different than

in the United States.1 The United Kingdom’s version of Miranda contains no

mention of the right to counsel, and if a defendant does not talk, it may later be

used against him under certain circumstances.2 The Seventh Circuit recognizes

that deceptive interrogation tactics can overcome a defendant’s free will. United

States v. Carson, 582 F.3d 827, 833 (7th Cir. 2009); United States v. Dillon, 150 F.3d

754, 757 (7th Cir. 1998). So a circumstance highly relevant to the validity of Mr.

Hutchins’ waiver and the voluntariness of his statement is one that nothing

available to the defense, or to this Court, addresses: whether the agents were

1 United Kingdom law requires the following caution being given upon arrest (though minor
wording deviations are allowed): “You do not have to say anything. But it may harm your
defence if you do not mention when questioned something which you later rely on in Court.
Anything you do say may be given in evidence.” Police and Criminal Evidence Act 1984 Code
G ¶ 3.5, Revised Code of Practice for the Statutory Power of Arrest by Police Officers (revised
July 2012),
https://www.gov.uk/government/uploads/system/uploads/attachment_data/file/117583/p
ace-code-g-2012.pdf.
2
  See Police and Criminal Evidence Act 1984 Code C Annex C, Revised Code of Practice for the
Detention, Treatment and Questioning of Persons by Police Officers (revised Feb. 2017),
https://www.gov.uk/government/uploads/system/uploads/attachment_data/file/592547/p
ace-code-c-2017.pdf.



                                              8
         Case 2:17-cr-00124-JPS Filed 03/30/18 Page 8 of 11 Document 55
aware of the differing rights and how those differences may have been accounted

for—or preyed upon—during the (unrecorded) colloquy regarding Mr.

Hutchins’ rights.

      Again, a waiver of the relevant rights is enforceable only when it is

accompanied by a “full awareness” on the defendant’s part “of both the nature of

the right being abandoned and the consequences of the decision to abandon it.”

Moran, 475 U.S. at 421. There are many reasons to believe Mr. Hutchins did not

have full awareness.

                                 CONCLUSION

      The post-arrest interview of Mr. Hutchins violated his rights. The agents

knew (or had ample reason to know) that Mr. Hutchins was sleep-deprived and

intoxicated, but they proceeded to interview him anyway. Further, the agents

knew (or had ample reason to know) that the provision of Miranda warnings to a

citizen of the United Kingdom requires special care, particularly in light of the

foregoing.

       But the evidentiary record—a record thus far under the government’s sole

control—is incomplete on these critical points. And so Mr. Hutchins’ request at

this point is for an evidentiary hearing to explore what did and did not happen

before, ultimately, the agents decided the time was ripe to turn on the audio-




                                         9
        Case 2:17-cr-00124-JPS Filed 03/30/18 Page 9 of 11 Document 55
recording device. Again, the colloquy involving the advisement and waiver of

rights happened before any recording started.

      The admissibility of Mr. Hutchins’ custodial statements depends on their

voluntariness, and voluntariness is dependent upon the totality of the

circumstances. The totality of circumstances here includes what transpired

between Mr. Hutchins’ arrest and the commencement of audio recording. Mr.

Hutchins, therefore, requests an evidentiary hearing on this motion to suppress

his post-arrest statements.

DATED: March 30, 2018                 Respectfully submitted,

                                       /s/ Brian E. Klein
                                      BRIAN E. KLEIN
                                      Baker Marquart LLP
                                      2029 Century Park E – Suite 1600
                                      Los Angeles, CA 90067
                                      Email: bklein@bakermarquart.com
                                      Telephone: (424) 652-7800

                                       /s/ Daniel W. Stiller
                                      DANIEL W. STILLER
                                      DStillerLLC
                                      Box 511130
                                      Milwaukee, WI 53203
                                      Email: dan@dstillerllc.com
                                      Telephone: (414) 207-3190

                                       /s/ Marcia Hofmann
                                      MARCIA HOFMANN
                                      Zeitgeist Law PC
                                      25 Taylor Street
                                      San Francisco, CA 94102
                                      Email: marcia@zeitgeist.law

                                       10
       Case 2:17-cr-00124-JPS Filed 03/30/18 Page 10 of 11 Document 55
                             Telephone: (415) 830-6664

                             Attorneys for Marcus Hutchins




                              11
Case 2:17-cr-00124-JPS Filed 03/30/18 Page 11 of 11 Document 55
